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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    UNITED STATES OF AMERICA                         CRIMINAL ACTION

                            v.                       NO. 16-370-1

    JOSE MORALES


                                  ORDER-MEMORANDUM

          AND NOW, this 21 st day of October 2020, after review of the Defendant's prose letter

request for an Order directing the Bureau of Prisons to change his public safety score and allow

him to transfer to a facility closer to home (ECF Doc. No. 193), but failing to provide constitutional

grounds and reminding the Defendant these requests must generally be addressed by the Bureau

of Prisons, it is ORDERED the Defendant's request (ECF Doc. No. 193) is DENIED without

prejudice to seek internal remedies through the Bureau of Prisons.

                                              Analysis

          Jose Morales is currently serving two concurrent, one hundred and eighty-four (184) month

sentences. 1 Mr. Morales challenges his public safety factor score set by the Bureau of Prisons. 2

Mr. Morales specifically requests our assistance in changing his public safety factor score, which

will make him eligible to transfer to facility closer to his home. 3

          Congress mandates government agencies who keep records must take reasonable steps in

maintaining accurate information to assure fairness to the individual. 4 Congress delegates inmate


1
    ECF Doc. No. 146 at 2.
2
    ECF Doc. No. 193 at 1.



4
    5 U.S.C. § 552(e)(5).
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 classification to correctional institutions and provides guidelines for the classification process. 5

The custody classification system merely recommends an inmate's custody. 6 The final decision in

classifying an inmate is left to prison officials' discretion, so long as they follow the administrative

guidelines. 7 To the extent Mr. Morales seeks judicial intervention to alter his custody

classification, we evaluate our authority to act.

           Prisoners do not have constitutional rights to particular custody classifications. 8 Congress

vests the Bureau of Prisons with broad discretionary authority regarding prisoners' placement and

classification while incarcerated. 9 The Bureau of Prisons may place an incarcerated person in any

penal or correctional facility so long as the facility meets minimum standards· of health and

habitability. 10 In Sappleton, an incarcerated person argued the Bureau of Prisons improperly

calculated his custody classification to include inaccurate information contained in his Presentence

Report. 11 The incarcerated person complained this classification asserted the greatest public safety

severity factor against him and adversely affected his job and quarters assignments, and his



5
     18 u.s.c. . § 4081.
6
     Sake v. Sherman, No. 06-163, 2007 WL 2254529, at *2 (W.D. Pa. Aug. 6, 2007).

7 Id An inmate's Custody Classification score requires evaluating the following factors: (1) the
inmate's 'base score, assigning numerical value to each subsequent factor; (2) type of detainer; (3)
severity of current offense; (4) months to release; ( 5) criminal history score; (6) history of escape
or attempts; (7) history of violence; (8) voluntary surrender status; (9) age; (10) education level;
and ( 11) drug/alcohol abuse. Id
8
     Beardv. Livesay, 798 F.2d 874,876 (6th Cir. 1986).
9
 Sappleton v. Hogsten, No. 11-552, 2014 WL 2565547, at *4 (S.D.W.Va. June 6, 2014) (citing
18 U.S.C. § 3621(b)).
10
     18 U.S.C. § 3621(b).
11
     Sappleton, 2014 WL 2565547, at *l.


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 opportunities to participate in prison activities. 12 Relyi~g on Supreme Court direction, Judge

 Farber held the incarcerated person did not possess a constitutionally protected interest in his

 classification as Congress gives federal prison officials full discretion without judicial intervention

 to control conditions of confinement. 13 The Constitution does not afford inmates the right to a

 particular security or custody classification as long as the challenged condition or degree of

 confinement is within the imposed sentence. 14

           Mr. Morales does not allege the Bureau of Prisons is violating his constitutionally protected

rights. We have no basis to find the prison officials did not act within their discretion when

classifying Mr. Morales. Absent evidence the Bureau of Prisons deprived Mr. Morales of a

constitutionally protected right, we cannot usurp the Bureau of Prisons' power. Like in Sappleton,

Mr. Morales argues the Bureau of Prisons improperly calculated his custody classification by

including inaccurate information. Since the conditions of his current camp still appear to meet

health and habitability requirements, the Bureau of Prisons is within its discretion to control the

conditions and placement of Mr. Morales' confinement. The Bureau of Prisons decides if Mr.

Morales may transfer to a camp closer to home.




12   Id

13
     Id at *4 (citing Moody v. Daggett, 429 U.S. 78, 88, n. 9 (1976)).
14
     Id (citing Slezakv. Evatt, 21 F.3d 590,594 (4th Cir.1994), cert. denied, 513 U.S. 889 (1994)).


                                                    3
